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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUH-'I PH 3: 25
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UFD,GF?N,MEMHHS

 

CHESTINE L . MONTGOMERY ,
Plaintiff,
vs. No. 03-2948 B[P

STATE Of TEN'NESSEE ,

Defendant.

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ORDER DENYING DEFENDANT’S MOTION FOR MENTAL EXAMINATION
OF PLAINTIFF AND DENYING DEFENDANT'S MOTION FOR EXTENSION
OF TIME TO DISCLOSE DEFEN`DANT’S EXPERT WITNESS REPORT

 

Before the Court is Defendant's Motion for Mental Examination
of Plaintiff, filed on May 13, 2005 (d]<t #42), and Defendant's
Motion for Extension of Time to Disclose Defendant's Expert Witness
Report, filed on May 17, 2005 (dkt #46). Plaintiff filed her
response to the motion for mental examination on May 31, 2005. On
June 3, 2005, this Court held a hearing on the motions and Counsel
for all parties were present and heard. For the following reasons,
the motions are DENIED.

I. BACKGROUND
Plaintiff Chestine Montgomery filed the present employment
discrimination action on December 17, 2003. In her Complaint, the

Plaintiff alleges that she was passed over for a promotion due

  

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her gender. On May 13, 2005, the Defendant filed this Motion for
Mental Examination of the Plaintiff because, the Defendant alleges,
the Plaintiff was not promoted due to a “documented pattern of
extreme anger, threats, and physical acting out in the workplace.”
The Defendant has not sought discovery of any medical records
speaking to the Plaintiff’s mental health, nor are any known to
exist.

On May 27, 2005, the Defendant submitted a supplemental filing
in support of this motion which cited the Plaintiff’s failure to
recall certain events at her deposition as additional grounds for
a mental examination. In her response, Plaintiff states that the
alleged incidents of hostility occurred over 6 years ago, which
affected her ability to recall the events. The Plaintiff maintains
that her mental condition is not at issue in this case.

II . ANALYSIS

Rule 35 of the Federal Rules of Civil Procedure provides in

pertinent part, “when the mental or physical condition of a party

is in controversy, the court in which the action is pending
may order the party to submit to a physical or mental examination
by a suitably licensed or certified examiner . . . . The order may
be made only on motion for good cause . . . .” Fed. R. Civ. P. 35.
These “in controversy” and “good cause” requirements are not met by
“mere conclusory allegations of the pleadings - nor by mere

relevance to the case - but require an affirmative showing by the

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movant that each condition as to which the examination is sought is
really and genuinely in controversy and that good cause exists for
ordering each particular examination.” Schlagenhauf v. Holder, 379
U.S. 104, 118 (1964). Mental examinations should only be ordered
“upon a discriminating application by the district judge of the
limitations prescribed by the Rule. To hold otherwise would mean
that such examinations could be ordered routinely” in similar
cases. Id. at 121"22. Thus, if this Court were to follow
Defendant's reasoning that the Plaintiff should be required to
submit to a mental examination due to her inability to recall
certain events during her deposition, mental examinations could be
routinely ordered in all cases where a party could not remember
information during a deposition. “The plain language of Rule 35
precludes such an untoward result.” Id. at 122. Defendant also
Contends that a mental examination should be ordered to determine
possible causes or explanations for Plaintiff's hostility and anger
towards those with Whom she worked. Defendant alleges that
Plaintiff's attitude is relevant to the case because it is the
reason she was not promoted.

In Acosta v. Tenneco Oil Co., the plaintiff alleged he was
wrongfully terminated in violation of the Age Discrimination in
Employment Act. Acosta v. Tenneco Oil Co., 913 F.Zd 205, 207 (5th
Cir. 1990). As an affirmative defense, the defendants claimed that

the plaintiff failed to mitigate damages by failing to exercise

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reasonable diligence in seeking comparable employment. Id. at 207

 

20§; The Court concluded, “while Tenneco's failure to mitigate
defense places into issue the availability of comparable employment
and the reasonableness of Acosta's efforts to obtain comparable
employment, the defense cannot be construed as placing into
controversy Acosta’s mental or physical condition.” Id. at 209.

In the present case. the Plaintiff has not placed her mental
condition in controversy' and the Defendant's contention that
Plaintiff was hostile towards fellow employees also does not place
her mental condition in controversy. The issue raised by the
Defendant is whether the Plaintiff’s anger problem was the reason
she was not promoted. This is an issue of the Plaintiff’s workplace
behavior, rather than an issue of the Plaintiff’s mental state.

In addition, good cause does not exist when the movant can
obtain the desired information by other means. Femley v. Hills,
222 F.R.D. 257, 260 (D.V.I. 2004). In this case, the Defendant has
several witnesses who could testify about Plaintiff’s behavior and
from whom an objective fact finder could determine whether the
Plaintiff’s behavior was inappropriate. The Defendant has failed
to affirmatively show that the Plaintiff’s mental condition is in
controversy' and that good cause exists for ordering a mental
examination.

III . CONCLUSION

Accordingly, the Court DENIES Defendant’s Motion for Mental

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Examination. of the Plaintiff. In addition, the Court DENIES
Defendant’s Motion for Extension of Time to Disclose Defendant’s
Expert Witness Report because, according to the Defendant, a denial
of the previous motion eliminates the need for the Defendant to

disclose an expert witness report.

"“"C:?€W_

TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

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Date '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:03-CV-02948 Was distributed by fax, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

